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                                       MINUTES



  CASE NUMBER:             CV 17-00493JAO-RT
  CASE NAME:               Graham T. Chelius, et al. vs. United States Food and Drug
                           Administration, et al.
  ATTYS FOR PLA:           Julie Kay (by phone)
                           Susan Talcott Camp (by phone)
                           Mateo Caballero
  ATTYS FOR DEFT:          Mary M. Englehart (by phone)
                           Shoshana Hutchinson (by phone)
                           Roger Gural (by phone)
  INTERPRETER:


        JUDGE:      Rom Trader                     REPORTER:         No Record

        DATE:       04/10/2019                     TIME:             9:01 - 9:20


 COURT ACTION: EP: Rule 16 Scheduling Conference - (AMENDED)

 Discussion had concerning discovery. Counsel have reached agreement as to all
 discovery matters except a deadline for Defendants' production of emails and privilege
 logs to Plaintiffs. The Court sets 8/12/19 as the deadline for Defendants to produce these
 materials to Plaintiffs. Both sides agree to production on a rolling basis. Defendants to
 focus on review and production of records and privilege logs relating to the most relevant
 custodians (approximately 10) as a priority. The Court will monitor progress via monthly
 status conferences scheduled for the following dates: 6/7/19, 7/11/19, 8/14/19 and
 9/11/19. All status conferences will be at 0900. Counsel to provide a written update,
 preferably a joint submission, 1 week prior to each status conference. Should any
 disputes arise concerning discovery, Counsel may seek further court assistance by
 requesting a status conference.

 Non-Jury Trial set for 4/13/20 @ 0900 before Judge Otake. Given the age of this case,
 counsel are advised this trial setting and associated deadlines will not be adjusted absent a
 compelling reason and only with the Court's approval. Rule 16 Scheduling Conference
 Order to be issued.
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 Dates given:

 1.     Non-jury trial on April 13, 2020 at 9:00 a.m. before JAO
 2.     Final Pretrial Conference on March 3, 2020 at 9:00 a.m. before RT
 3.     Final Pretrial Conference before District Judge N/A
 4.     Final Pretrial Statement by February 25, 2020
 5.     File motions to Join/Add Parties/Amend Pleadings by September 13, 2019
 6.     File other Non-Dispositive Motions by January 15, 2020
 7.     File Dispositive Motions by November 13, 2019
 8a.    File Motions in Limine by March 24, 2020
 8b.    File opposition memo to a Motion in Limine by March 31, 2020
 11a.   Plaintiff’s Expert Witness Disclosures by October 15, 2019
 11b.   Defendant’s Expert Witness Disclosures by November 13, 2019
 12.    Discovery deadline February 14, 2020
 13.    Settlement Conference set for January 14, 2020 at 10:00 a.m. before RT
 14.    Settlement Conference statements by January 7, 2020
 20.    Submit Voir Dire Questions, Special Verdict Form, Concise Statement of Case and
        Jury Instructions by N/A
 21.    File Final witness list by March 24, 2020
 24.    Exchange Exhibit and Demonstrative aids by March 17, 2020
 25.    Stipulations re: Authenticity/Admissibility of Proposed Exhibits by March 24,
        2020
 26.    By March 31, 2020 the parties shall file any objections to the admissibility of
        exhibits. Copies of any exhibits to which objections are made shall be attached to
        the objections.
 27.    The original set of exhibits and two copies (all in binders) and a list of all exhibits
        shall be submitted to the Court the Thursday before trial.
 28a.   File Deposition Excerpt Designations by March 24, 2020
 28b.   File Deposition Counter Designations and Objections by March 31, 2020
 29.    File Trial Brief by March 31, 2020
 30.    File Findings of Fact & Conclusions of Law by March 31, 2020

 Other Matters:

 Submitted by: Toni Fujinaga, Courtroom Manager.




 CV 17-00493JAO-RT;
 Graham T. Chelius, et al. Vs. United States Food and Drug Administration, eta l.; Rule 16
 Scheduling Conference - Scheduling Conference Minutes
 04/10/2019
